Case 5:10-cr-04083-LTS-KEM   Document 376   Filed 06/01/11   Page 1 of 6
Case 5:10-cr-04083-LTS-KEM   Document 376   Filed 06/01/11   Page 2 of 6
Case 5:10-cr-04083-LTS-KEM   Document 376   Filed 06/01/11   Page 3 of 6
Case 5:10-cr-04083-LTS-KEM   Document 376   Filed 06/01/11   Page 4 of 6
Case 5:10-cr-04083-LTS-KEM   Document 376   Filed 06/01/11   Page 5 of 6
Case 5:10-cr-04083-LTS-KEM   Document 376   Filed 06/01/11   Page 6 of 6
